
In an action under article 15 of the Real Property Law to compel the determination of a claim to real property, order of the County Court of Nassau County, denying appellants’ motion for a review and a new taxation of costs, reversed on the law and the facts, without costs, and the motion granted, without costs. Costs in the action and disbursements only insofar as they relate to the parcels of real property in which appellants are interested, should be awarded. Close, P. J., Carswell and Lewis, JJ., concur; Hagarty and Adel, JJ., concur for reversal of the order and the granting of the motion, being of the opinion, however, that no costs or disbursements should be awarded. Furthermore, they believe that on this record it may not be said that appellants have unreasonably defended the action. (Civ. Prac. Act, § 1478.) [See 269 App. Div. 667, 671.]
